          Case 1:22-mc-00026-FYP Document 11 Filed 03/18/22 Page 1 of 4




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

IN RE: THIRD PARTY SUBPOENA TO                     }
BRENDAN FISCHER                                    }   Misc. Case No.: 1:22-mc-00026
                                                   }
ROY S. MOORE,                                      }
Plaintiff,                                         }
                                                   }
versus                                             }   Case No.: 4:19-cv-1855-CLM (N.D. Ala.)
                                                   }
SENATE MAJORITY PAC, et al.,                       }
Defendants.                                        }



PLAINTIFF ROY S. MOORE’S SURREPLY OF NON-PARTY BRENDAN FISCHER’S
EMERGENCY MOTION TO STAY AND QUASH THIRD-PARTY SUBPOENA AND
                  REQUEST FOR EXPEDITED HEARING


         This Surreply is necessitated by a number of misleading if not false statements in Movant

Brendan Fischer’s Reply, which include by are not limited to the following:

         First, as Exhibit 1 shows, service of process was proper under the established practice in

the District of Columbia.

         Second, discovery is not closed, as Movant Fischer was served before any claimed deadline

for discovery.

         Third, attached as Exhibit 2 is a court order from the underlying Northern District Court of

Alabama, which reflects that discovery is continuing until March 25, 2022 and, in fact, the

deposition of Movant Fischer was one of the witnesses whom the Court was advised would be

deposed and whose deposition was approved.

         Fourth and finally, it appears to Plaintiff Moore that Movant Fischer is frightened of

retaliation by the Defendants after having filed a complaint against the Defendants Senate Majority
         Case 1:22-mc-00026-FYP Document 11 Filed 03/18/22 Page 2 of 4




PAC and its joint tortfeasor Waterfront Strategies before the Federal Election Commission for

fundraising violations, which could rise to a crime.

       WHEREFORE, Plaintiff Moore respectfully requests that this Court set a hearing on this

matter as early as is practicable prior to March 25, 2022.

       Respectfully submitted this the 18th day of March, 2022,

                                               /s/Melissa L. Isaak_________________________
                                               Melissa L. Isaak
                                               Admitted Pro Hac Vice

Of Counsel:

Isaak Law Firm
2815B Zelda Road
Montgomery, AL 36106
T: 334-262-8200
F: 334-819-4072
Melissa@ProtectingMen.com

Stephen L. Sulzer (340943)
Stephen L. Sulzer PLLC
700 12TH Street, N.W., Suite 700
Washington, D.C. 20005
T: (703) 899-2903
F: (202) 558-5101
Email: ssulzer@sulzerpllc.com

Attorneys for Plaintiff Roy S. Moore


                                 CERTIFICATE OF SERVICE

        I hereby certify that on this 18th day of March, 2022, I have served a copy of the foregoing
affidavit and its attachments upon all parties and/or their counsel of record by electronic service to
each person’s email address of record, indicated below:

Molly E. Danahy
Adav Noti
Kevin P. Hancock
CAMPAIGN LEGAL CENTER
1101 14th Street NW, Ste. 400
Washington, DC 20005
         Case 1:22-mc-00026-FYP Document 11 Filed 03/18/22 Page 3 of 4




anoti@campaignlegalcenter.org
khancock@campaignlegalcenter.org
mdanahy@campaignlegalcenter.org

Attorneys for Movant Brendan Fischer


Barry A. Ragsdale
DOMINICK FELD HYDE PC
1130 22nd Street South, Suite 4000
Birmingham, AL 35205
BRagsdale@dfhlaw.com

Marc E Elias
ELIAS LAW GROUP LLP
10 G St NE
Suite 600
Washington, DC 20002
melias@elias.law
William B. Stafford
ELIAS LAW GROUP LLP
1700 Seventh Avenue
Suite 2100
Seattle, WA 98101
bstafford@elias.law

Meghan Salvati Cole
LIGHTFOOT FRANKLIN & WHITE LLC
400 20th Street North
Birmingham, AL 35203
mcole@lightfootlaw.com

Attorneys for the Defendants

Larry Klayman
Klayman Law Group, P.A.
7050 W. Palmetto Park Rd.
Boca Raton, FL 33433
leklayman@gmail.com

Stephen L. Sulzer
700 12TH Street, N.W., Suite 700
Washington, D.C. 20005
ssulzer@sulzerpllc.com

Attorneys for Plaintiff Roy S. Moore
Case 1:22-mc-00026-FYP Document 11 Filed 03/18/22 Page 4 of 4




                                       /s/ Melissa Isaak________
                                       Melissa Isaak
                                       Admitted Pro Hac Vice
                                       P.O. Box 4894
                                       Montgomery, AL 36103
                                       T: (334) 262-8200
                                       F: (334) 819-4072
                                       Melissa@ProtectingMen.com
                                       Attorney for Plaintiff Roy S. Moore
